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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re:                                       )
                                             )
DENNIS K. OBDUSKEY,                          )
                                             )       Case No.: 18-18627-JGR
                                             )       Chapter 13
Debtor.                                      )

                             CERTIFICATE OF SERVICE

      I, STEPHEN H. SWIFT, ESQ., certify that I mailed a true and correct copy of the following
documents:

         1.    Trustee Information Sheet
         2.    Domestic Support Obligation Form
         3.    Employee Income Record
         4.    Income Tax Returns
         5.    This Certificate of Service
         6.    Statement Regarding Pay advices

By uploading the documents to the following:

Douglas B. Kiel, Esq., Chapter 13 Trustee, at: 13documents.com

By placing the same in the U.S. Mails, postage prepaid, addressed to each of the following at their
respective addresses on the 5th day of October, 2018:

Mr. Dennis K. Obduskey
604 Alpine Avenue
Pueblo, CO 881005

Clerk, U.S. Bankruptcy Court                         [via e-file; certificate of service, only]
U.S. Custom House
721 19th Street
Denver, CO 80202-2508

                                      Respectfully submitted this 5th day of October, 2018.

                                         LAW OFFICE OF STEPHEN H. SWIFT, P.C.

                                            /s/ Stephen H. Swift
                                         Stephen H. Swift, #14766
                                         Attorney for the Debtor
                                         733 East Costilla St., Suites A&B
                                         Colorado Springs, CO 80903
                                         (719) 520-0164
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                                (719) 520-0248 fax transmission




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